      Case 3:17-cv-00939-WHA Document 640-2 Filed 06/16/17 Page 1 of 2




 1

 

 

 

 

 

 

 
                                UNITED STATES DISTRICT COURT
 
                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

      WAYMO LLC,                                   CASE NO. 3:17-cv-00939-WHA

                   Plaintiff,                      [PROPOSED] ORDER GRANTING
                                                PLAINTIFF WAYMO LLC’S
          vs.                                      ADMINISTRATIVE MOTION TO FILE
                                                UNDER SEAL ITS PRÉCIS ON
    UBER TECHNOLOGIES, INC.;                       MOTIONS IN LIMINE IN RESPONSE TO
 OTTOMOTTO LLC; OTTO TRUCKING                   CASE MANAGEMENT ORDER RE:
    LLC,                                           TRIAL PREPARATION

              Defendants.
























                                                                      CASE NO. 3:17-cv-00939-WHA
                                   [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 640-2 Filed 06/16/17 Page 2 of 2




 1         Plaintiff Waymo LLC (“Waymo”) has filed an Administrative Motion to File Under Seal

 2 certain information in its June 16 Précis on Motions in Limine in Response to Case Management

 3 Order re: Trial Preparation (“Waymo’s Administrative Motion”).

 4         Having considered Waymo’s Administrative Motion, and good cause to seal having been

 5 shown, the Court GRANTS Waymo’s Administrative Motion and ORDERS sealed the

 6 documents listed below:

 7                      Document                 Portions to Be Filed Under Seal
 8          Précis                              Highlighted in Blue
 9
           IT IS SO ORDERED.
10

11
     Dated: ______________, 2017
12

13                                        HON. WILLIAM ALSUP
                                          United States District Court Judge
14

15

16

17

18
19

20

21

22

23

24

25

26
27

28

                                                  -2-                   CASE NO. 3:17-cv-00939-WHA
                                    [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
